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 Attorneys for Defendant American Century
 Investment Services, Inc.

                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


 DALE YLITALO, individually and on behalf             Case No. 2:24-cv-07635-JKS-LDW
 of all others similarly situated,
                                                      Hon. Jamel K. Semper, U.S.D.J.
                           Plaintiff,                 Hon. Leda D. Wettre, U.S.M.J.

                      v.                              FED. R. CIV. P. 7.1(a)(1) CORPORATE
                                                      DISCLOSURE STATEMENT OF
 AUTOMATIC DATA PROCESSING, INC.,                     AMERICAN CENTURY INVESTMENT
 ADP, INC., and AMERICAN CENTURY                      SERVICES, INC.
 INVESTMENT SERVICES, INC.,
                                                      Document Electronically Filed
                           Defendants.


          Pursuant to Rule 7.1(a)(1) of the Federal Rules of Civil Procedure, Defendant American

 Century Investment Services, Inc. makes the following disclosure statement:

          1.     American Century Investment Services, Inc. is wholly owned by its parent

 company, American Century Companies, Inc., which is a private corporation.



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          2.   Nomura AM Holdings USA, LLC owns a minority interest in American Century

 Companies, Inc. and is a wholly-owned subsidiary of Nomura Holding America, Inc., which is a

 wholly-owned subsidiary of Nomura Holdings, Inc., which is a publicly-traded corporation.

          3.   There is no publicly held corporation that owns 10% or more of the stock of

 American Century Investment Services, Inc.

 Dated: August 15, 2024                            Respectfully submitted,

                                                   K&L GATES LLP

                                                   By:      /s/ Loly G. Tor
                                                            Loly G. Tor

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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on August 15, 2024, a true and correct copy of the foregoing

 was electronically filed with the Clerk of Court using CM/ECF. Copies of the foregoing document

 will be served upon counsel of record via transmission of Notices of Electronic Filing generated

 by CM/ECF.


                                             By:    /s/ Loly G. Tor
                                                    Loly G. Tor




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